Case 4:98-cr-00123-SWW Document 199 Filed 12/04/08 Page 1 of 4

PROB 128
ED/AR (3/2002)

United States District Court EASTERN B STRICT COURT
for the
Eastern District of Arkansas JAMES W,

Request for Modifying the Conditions or Term of Supervision

with Consent of the Offender
{Probation Form 49, Waiver of Hearing is Attached)

Name of Offender: Jesse Frank Parraz Case Number: 4:98CR00123-001 SWW

Name of Sentencing Judicial Officer: Honorable George Howard, Jr.
United States District Judge

October 15, 2008: Case reassigned to the Honorable Susan
Webber Wright, United States District Judge

Offense: Possession with intent to distribute methamphetamine
Date of Sentence: November 19, 2001
Sentence: 78 months Bureau of Prisons, 4 years supervised release, mandatory drug

testing, substance abuse treatment, supervised release is to be administered
where the defendant is a legal resident and/or the district where a suitable
release plan has been developed, and $100 special penalty assessment

Type of Supervision: Supervised Release Date Supervision Commenced: October 27, 2008
Expiration Date: October 26, 2012

Asst. U.S, Attorney: Robert J. Govar Defense Attorney: John Wesley Hall, Jr.

U.S. Probation Officer: Brent J. Young
Phone No.: 501-604-5284

PETITIONING THE COURT
To modify the conditions of supervision as follows:

The defendant shall submit to the search of his person, property, home and vehicle by a United
States Probation Officer, or any other authorized person under the immediate and personal
supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
residents that the premises may be subject to searches pursuant to this condition.

The defendant shall abstain from the use of aleoholic beverages and shall not frequent those
places where alcohol is the chief item of sale.

As directed by the probation officer, the defendant shall participate in a program of mental health
treatment (inpatient or outpatient).
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Prob 12B -2- Request for Modifying the

Conditions or Terms of Supervision
with Consent of the Offender

Name of Offender; Jesse Frank Parraz Case Number: 4:98CR00123-001 SWW

CAUSE

On October 27, 2008, Mr. Parraz was immediately released from the Bureau of Prisons due to an over-
served time issue. Mr. Parraz has been a life-long residence of the state of California and requested his
supervision be administered in the Eastern District of California. In order to better assist the probation
office in the supervision of Mr. Parraz's case, they are requesting his conditions be modified to include
the above-mentioned special conditions.

On October 28, 2008, Mr, Parraz signed a Probation Form 49, Waiver of Hearing to Modify Conditions
of Supervised Release agreeing to the modification. Several attempts to contact his previously retained
attorney, John Wesley Hall, Jr., have been made with no success.

Brent J Some Robert J. Govar
US. 1 Sound Officer Assistant U.S. Attorney
Date: December 1, 2008 Date: LD ontyn, hn / , 200 i

This form is to be filed with Criminal Docketing as a motion.

THE COURT ORDERS:

[ ] No Action

[ ] . The Extension of Supervision as Noted Above

[ The Modification of Conditions as Noted Above
[ ] Other

Cw tll yl

Signature of Judicial Officet

[2 {OF

Date

This form is to be filed with Criminal Docketing as an order and/or petition.

Approved:

Supervising U.S. Probation Offi
Case 4:98-cr-00123-SWW Document 199 Filed 12/04/08 Page 3 of 4
ry Requat for Modifying the

Prob 12B
Conditions or Terms of Supervision
with Consent of the Offender
Name of Offender: Jesse Frank Parraz Case Number: 4:98CR00123-001 SWW
BJY/jkr

c: Defense Attorney, John Wesley Hall, Jr. , 523 W. Third Street, Little Rock, AR 72201
Assistant U.S. Attorney, Robert J. Govar, P.O. Box 1229, Little Rock, AR 72203
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Prob 49
(03/89)

United States District Court

Eastern District ofArkansas

Waiver of Hearing to Modify Conditions
. of Supervised Release

I have been advised and understand that I am entitled by law to a hearing and assistance of counsel before
any unfavorable change may be made in my Conditions of Supervised Release. By "assistance of counsel,” I
understand that I have the right to be represented at the hearing by counsel of my own choosing if I am able to
retain counsel. I also understand that I have the right to request the Court to appoint counsel to represent me at
‘ such a hearing at no cost to myself if I am not able to retain counsel of my own choosing.

I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. I also agree to
the following modification of my Conditions of Supervised Release:

The defendant shall submit to the search of his person, property, home, and vehicle by a united
states probation officer, or any other authorized person under the immediate and personal
supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
residents that the premises may be subject to searches pursuant to this condition.

The defendant shall abstain from the use of alcoholic beverages and shall not frequent those places where
alcohol is the chief item of sale.

As directed by the probation officer, the defendant shall participate in a program of mental health
treatment (inpatient or outpatient).

‘Witness Des Signed pier (precy

Ben J. Blankenship. Jesse Frank Parraz
Senior U.S. Probation Office Supervised Releasee

10-9 —-O 8

Date

Rav. 5/2008
VIOLATION__WAIVER (PROB49).MRG
